833 F.2d 1005Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Federico J. HEADLEY, Plaintiff-Appellant,v.C.A. BARKSDALE, J.M. Peruttelli, J.R. Townsend, CeasarManrique, James E. Johnson, Defendants-Appellees.
    No. 87-6607.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 30, 1987.Decided:  Nov. 20, 1987.
    
      Federico J. Headley, appellant pro se.
      Nelson H.C. Fisher, Office of Attorney General, for appellees.
      Before K.K. HALL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Federico J. Headley, a Virginia inmate, appeals the order of the district court dismissing his claim under 42 U.S.C. Sec. 1983 for failure to execute a document consenting to the withholding of an assessed partial filing fee.
    
    
      2
      The district court determined that, during the six months prior to the filing of his claim, Headley received income in the sum of $140.30.  Accordingly, the district court assessed Headley the reduced filing fee of $20.00, afforded Headley the opportunity to show special circumstances which would justify a different payment, and instructed Headley to execute a document allowing for the withholding of the assessed partial filing fee.  Upon Headley's failure to pay the $20.00 or execute the consent to withholding, the district court dismissed the case.
    
    
      3
      As the assessment procedure followed by the district court comported with the system approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), we grant leave to proceed in forma pauperis and affirm the dismissal.  Pursuant to 28 U.S.C. Sec. 2106, however, we modify the district court's order to show that the complaint is dismissed without prejudice.  Headley may refile his complaint upon payment of any new fee imposed.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument.
    
    
      4
      AFFIRMED AS MODIFIED.
    
    